
This was an application for a Writ of Error to a judgment pronounced against the prisoner in Washington Superior Court. The *211Case is fully stated in the opinion of this Court, pronounced by Brockenbrough, the presiding member thereof.
The prisoner was indicted in the Circuit Court of Washington for larceny of bank notes, and the Indictment charged them to be “ the property and bank notes ” of James White. A verdict was rendered against him, and judgment. The Statute (a) declares, “ that if any person shall steal, or take by robbery, from the possession of any other person, any bank note, &amp;c. the person so offending, shall be deemed guilty of felony, and shall be punished in the same manner as for stealing, or taking by robbery, goods and chattels.” An application is made for a Writ of Error, and the objection taken to the Indictment is, that it does not charge that he stole them from the possession of any person. The expression in the act, “ from the possession,” may well be construed to apply to the “taking by robbery,” (that word, robbery, being the immediate antecedent of that expression,) and not to the stealing. The whole of the clause must be taken together : the stealing of bank notes is put on the same footing as the stealing of goods ; and as it is not necessary to constitute the latter offence, that the larceny should be from the person, that is, the actual possession of another, so neither can it be necessary in the former. It is not, therefore, necessary so to charge it in the Indictment. We are, therefore, unanimously of opinion, that the application for a Writ of Error be overruled.

 1 Rev. Code of 1819, ch. 154, § 8, p. 581.

